Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 1 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 2 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 3 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 4 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 5 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 6 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 7 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 8 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 9 of 10




                                                     Exhibit 18 (Excerpts)
Case 5:21-cv-00616-PRW   Document 34-18   Filed 06/29/23   Page 10 of 10




                                                      Exhibit 18 (Excerpts)
